                  UNITED STATES BANKRUPTCY COURT
      FOR THE EASTERN DISTRICT OF MICHIGAN - NORTHERN DIVISION


In the Matter of:
                                                         CHAPTER 13 PROCEEDING
ANGELA JANE-HOWEY SIMPSON                                CASE NUMBER: 16-21964
                                                         HONORABLE DANIEL S. OPPERMAN
       Debtor(s)
                                         /
Thomas W. McDonald, Jr.
Chapter 13 Trustee
3144 Davenport Avenue
Saginaw, Michigan 48602
Telephone: (989) 792-6766
ecf@mcdonald13.org                   _       /


                         ORDER DENYING CONFIRMATION

       The Chapter 13 Plan in this case having come on for Confirmation on April 27, 2017;

       IT IS HEREBY ORDERED that Confirmation of the Plan is hereby denied.


                                                   .

Signed on April 28, 2017

                                                 ____ _/s/ Daniel S. Opperman_    __
                                                      Daniel S. Opperman
                                                      United States Bankruptcy Judge




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